CM/ECF-GA Northern District Court                                   https://gand-ecf.sso.dcn/cgi-bin/GANDc_mkmin.pl?1562486216563-L_...
                      Case 1:18-cr-00098-SCJ-LTW Document 207 Filed 03/18/22 Page 1 of 2




                                 UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION
                                                  1:18-cr-00098-SCJ-LTW
                                                       USA v. Bickers
                                                  Honorable Steve C. Jones

                                Minute Sheet for proceedings held In Open Court on 03/18/2022.


              TIME COURT COMMENCED: 9:30 A.M.
              TIME COURT CONCLUDED: 5:00 P.M.                      COURT REPORTER: Viola Zborowski
              TIME IN COURT: 6:30                                  DEPUTY CLERK: Pamela Wright
              OFFICE LOCATION: Atlanta

         DEFENDANT(S):               [1]Mitzi Bickers Present at proceedings
         ATTORNEY(S)                Jeffrey Davis representing USA
         PRESENT:                   Tiffany Dillingham representing USA
                                    Drew Findling representing Mitzi Bickers
                                    Marissa Goldberg representing Mitzi Bickers
                                    Zachary Kelehear representing Mitzi Bickers
                                    Nathan Kitchens representing USA
         PROCEEDING
                                    Jury Trial Continued;
         CATEGORY:
         MINUTE TEXT:               [Outside the presence of the jury the Court heard argument from
                                    defendant's counsel regarding testimony of ER Mitchell; counsel
                                    requested curative instruction. Request was denied in the Court's order at
                                    doc. [200]. Government's exhibit 91 admitted.] Melvin Priester sworn and
                                    testified. Court's Exhibit 1 (parties' joint stipulation) admitted.
                                    government's exhibits 213 and 45-A admitted. Tony Yarber sworn and
                                    testified. Government's exhibits 178, 179, 184, 180, 182, 183, 209
                                    admitted. Janine Patterson sworn and testified. Kimberly Bracey sworn
                                    and testified. Government's exhibits 185, 181, and 186 admitted.
                                    Stephanie Coleman sworn and testified. Government's exhibits 187, 188,
                                    189 admitted. Jacquelyn Anderson Woods sworn and testified. Chana Tate
                                    sworn and testified.
         HEARING STATUS:            Hearing not concluded. Court adjourned and will reconvene at 9:00 AM
                                    on 3/21/2022.
         TRIAL STATUS:              Evidence Entered, Continued



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CM/ECF-GA Northern District Court                                   https://gand-ecf.sso.dcn/cgi-bin/GANDc_mkmin.pl?1562486216563-L_...
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         EXHIBIT STATUS:            Exhibits retained by the Court to be forwarded to the Clerks Office.




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